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VIA ECF                                                                     August 23, 2023

Hon. John G. Koeltl
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:    Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York and the
       Board of Governors of the Federal Reserve System (Case No. 23-cv-6414)

Dear Judge Koeltl,

       Defendant Federal Reserve Bank this morning filed corrected under seal and public
versions of its brief opposing Plaintiff’s Motion for Temporary Restraining Order and
Preliminary Injunction in the above-captioned case. ECF 57 (under seal) and ECF 58 (public
version). The corrected filings amend page numbering errors in the documents filed last night,
update the tables accordingly, correct a single in-text typo and the signature block, and otherwise
incorporate cosmetic changes for ease of legibility (e.g., previously “orphaned” headers). See
ECF 55 (under seal) and 56 (public version). No other alterations were made to the brief. We
apologize to the Court for the errors and any inconvenience.

                                                     Respectfully submitted,


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